Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11979 Filed 04/02/15 Page 1 of 48




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                 :
  IN RE: AUTOMOTIVE PARTS                        :   Master File No. 12-md-02311
  ANTITRUST LITIGATION                           :   Hon. Marianne O. Battani
                                                 :
                                                 :
  IN RE ALTERNATORS                              :   Case No. 2:13-cv-00703-MOB-MKM
  IN RE STARTERS                                 :   Case No. 2:13-cv-01103-MOB-MKM
  IN RE IGNITION COILS                           :   Case No. 2:13-cv-01403-MOB-MKM
  IN RE MOTOR GENERATORS                         :   Case No. 2:13-cv-01503-MOB-MKM
  IN RE INVERTERS                                :   Case No. 2:13-cv-01803-MOB-MKM
  IN RE AIR FLOW METERS                          :   Case No. 2:13-cv-02003-MOB-MKM
  IN RE FUEL INJECTION SYSTEMS                   :   Case No. 2:13-cv-02203-MOB-MKM
  IN RE VALVE TIMING CONTROL                     :   Case No. 2:13-cv-02503-MOB-MKM
  DEVICES                                        :
  IN RE ELECTRONIC THROTTLE BODIES               :   Case No. 2:13-cv-02603-MOB-MKM
                                                 :
                                                 :
  THIS DOCUMENT RELATES TO:                      :
                                                 :
  ALL END-PAYOR ACTIONS                          :
                                                 :


              END-PAYOR PLAINTIFFS’ NOTICE OF MOTION FOR
          PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT WITH
                 HITACHI AUTOMOTIVE SYSTEMS, LTD. AND
           PROVISIONAL CERTIFICATION OF SETTLEMENT CLASSES


         Pursuant to Federal Rule of Civil Procedure 23(c) and (e), End-Payor Plaintiffs hereby

  move the Court for an Order to:

         (1)    Preliminarily approve the proposed settlement of the above-captioned litigations

  with Defendant Hitachi Automotive Systems, Ltd. (“HIAMS”);

         (2)    Provisionally approve the proposed Settlement Classes;
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11980 Filed 04/02/15 Page 2 of 48




         (3)     Stay the proceedings against Releasees (as defined in the settlement with

  HIAMS), in particular HIAMS, Hitachi Automotive Systems Americas, Inc., and Hitachi Ltd. in

  accordance with the terms of the Settlement Agreement;

         (4)     Authorize End-Payor Plaintiffs to provide notice of the Settlement Agreement to

  members of their Settlement Classes at a later date in a form and manner to be approved in

  advance by this Court; and

         (5)     Appoint Interim Co-Lead Class Counsel for End-Payor Plaintiffs as Settlement

  Class Counsel for purposes of this settlement.

         In support of this Motion, End-Payor Plaintiffs rely upon and incorporate by reference

  herein the facts and legal arguments set forth in the accompanying Memorandum of Law.

         HIAMS consents to this motion and to the entry of the proposed order.



  Date: April 2, 2015                          Respectfully submitted,

                                               /s/ E. Powell Miller
                                               E. Powell Miller
                                               Adam T. Schnatz
                                               THE MILLER LAW FIRM, P.C.
                                               The Miller Law Firm, P.C.
                                               950 W. University Dr., Ste. 300
                                               Rochester, Michigan 48307
                                               epm@millerlawpc.com
                                               ats@millerlawpc.com

                                               Interim Liaison Counsel for the Proposed End-
                                               Payor Plaintiff Classes

                                               Steven N. Williams
                                               Adam J. Zapala
                                               Elizabeth Tran
                                               COTCHETT, PITRE & McCARTHY, LLP
                                               San Francisco Airport Office Center
                                               840 Malcolm Road, Suite 200
                                               Burlingame, CA 94010



                                                   2
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11981 Filed 04/02/15 Page 3 of 48




                                     Telephone: (650) 697-6000
                                     Facsimile: (650) 697-0577
                                     swilliams@cpmlegal.com
                                     azapala@cpmlegal.com
                                     etran@cpmlegal.com

                                     Hollis Salzman
                                     Bernard Persky
                                     William V. Reiss
                                     ROBINS KAPLAN LLP
                                     601 Lexington Avenue, Suite 3400
                                     New York, NY 10022
                                     Telephone: (212) 980-7400
                                     Facsimile: (212) 980-7499
                                     HSalzman@RobinsKaplan.com
                                     BPersky@RobinsKaplan.com
                                     WReiss@RobinsKaplan.com

                                     Marc M. Seltzer
                                     Steven G. Sklaver
                                     SUSMAN GODFREY L.L.P.
                                     1901 Avenue of the Stars, Suite 950
                                     Los Angeles, CA 90067-6029
                                     Telephone: (310) 789-3100
                                     Facsimile: (310) 789-3150
                                     mseltzer@susmangodfrey.com
                                     ssklaver@susmangodfrey.com

                                     Terrell W. Oxford
                                     SUSMAN GODFREY L.L.P.
                                     901 Main Street, Suite 5100
                                     Dallas, Texas 75202
                                     Telephone: (214) 754-1900
                                     Facsimile: (214)754-1933
                                     toxford@susmangodfrey.com

                                     Interim Co-Lead Class Counsel for the Proposed
                                     End-Payor Plaintiff Classes




                                        3
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11982 Filed 04/02/15 Page 4 of 48




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

                                        :
  IN RE: AUTOMOTIVE PARTS               :   Master File No. 12-md-02311
  ANTITRUST LITIGATION                  :   Hon. Marianne O. Battani
                                        :
                                        :
  IN RE ALTERNATORS                     :   Case No. 2:13-cv-00703-MOB-MKM
  IN RE STARTERS                        :   Case No. 2:13-cv-01103-MOB-MKM
  IN RE IGNITION COILS                  :   Case No. 2:13-cv-01403-MOB-MKM
  IN RE MOTOR GENERATORS                :   Case No. 2:13-cv-01503-MOB-MKM
  IN RE INVERTERS                       :   Case No. 2:13-cv-01803-MOB-MKM
  IN RE AIR FLOW METERS                 :   Case No. 2:13-cv-02003-MOB-MKM
  IN RE FUEL INJECTION SYSTEMS          :   Case No. 2:13-cv-02203-MOB-MKM
  IN RE VALVE TIMING CONTROL            :   Case No. 2:13-cv-02503-MOB-MKM
  DEVICES                               :
  IN RE ELECTRONIC THROTTLE BODIES      :   Case No. 2:13-cv-02603-MOB-MKM
                                        :
                                        :
  THIS DOCUMENT RELATES TO:             :
                                        :
  ALL END-PAYOR ACTIONS                 :
                                        :


                MEMORANDUM OF LAW IN SUPPORT OF
     END-PAYOR PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF
                    PROPOSED SETTLEMENT WITH
               HITACHI AUTOMOTIVE SYSTEMS, LTD. AND
         PROVISIONAL CERTIFICATION OF SETTLEMENT CLASSES
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11983 Filed 04/02/15 Page 5 of 48




                           STATEMENT OF ISSUES PRESENTED

      1. Whether End-Payor Plaintiffs’ (“EPPs’”) settlement with Defendant Hitachi Automotive
         Systems, Ltd. (“HIAMS”), embodied in the Settlement Agreement entered into on March
         26, 2015 (“Settlement Agreement”) and attached hereto as Exhibit 1, is fair, reasonable,
         and adequate and should be preliminarily approved;

      2. Whether the Court should provisionally certify Settlement Classes under Federal Rule of
         Civil Procedure (“Rule”) 23(a) and (b)(3);

      3. Whether the Court should stay the proceedings by EPPs against Releasees (as defined in
         the settlement agreement with HIAMS), in particular HIAMS, Hitachi Automotive
         Systems Americas, Inc., and Hitachi, Ltd. in accordance with the terms of the Settlement
         Agreement;

      4. Whether the Court should authorize EPPs to provide notice of the Settlement Agreement
         to Settlement Class Members (as defined in the Settlement Agreement)1 at a later date in
         a form and manner to be approved in advance by this Court; and

      5. Whether the Court should appoint Interim Co-Lead Class Counsel for EPPs as Settlement
         Class Counsel for this settlement.




  1
   Unless otherwise defined, capitalized terms shall have the meaning ascribed to them in the
  Settlement Agreement.

                                                 i
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11984 Filed 04/02/15 Page 6 of 48




                CONTROLLING OR MOST APPROPRIATE AUTHORITIES

  Fed. R. Civ. P. 23

  Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997)

  Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184 (2013)

  Cason-Merenda v. VHS of Mich., Inc., 2013 U.S. Dist. LEXIS 131006, at *20-21 (E.D. Mich.
  Sept. 13, 2013)

  Griffin v. Flagstar Bancorp, Inc., 2013 U.S. Dist. LEXIS 173702 (E.D. Mich. Dec. 12, 2013)

  In re Am. Med. Sys., Inc., 75 F.3d 1069 (6th Cir. 1996)

  In re Cardizem CD Antitrust Litig., 218 F.R.D. 508 (E.D. Mich. 2003)

  In re Corrugated Container Antitrust Litig., 1981 WL 2093 (S.D. Tex. Jan. 27, 1981)

  In re Foundry Resins Antitrust Litig., 242 F.R.D. 393 (S.D. Ohio 2007)

  In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631 (E.D. Pa. 2003)

  In re Packaged Ice Antitrust Litig., 2011 U.S. Dist. LEXIS 17255 (E.D. Mich. Feb. 22, 2011)

  In re Scrap Metal Antitrust Litig., 527 F.3d 517 (6th Cir. 2008)

  In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722 F.3d 838 (6th Cir. 2013)

  IUE-CWA v. Gen. Motors Corp., 238 F.R.D. 583 (E.D. Mich. 2006)

  Sheick v. Auto Component Carrier LCC, 2010 U.S. Dist. LEXIS 110411 (E.D. Mich. Oct. 18,
  2010)




                                                  ii
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11985 Filed 04/02/15 Page 7 of 48




                                                     TABLE OF CONTENTS

                                                                                                                                             Page

  PRELIMINARY STATEMENT ................................................................................................... 1
  THE BASIC TERMS AND BACKGROUND OF THE SETTLEMENT AGREEMENT .......... 7
  ARGUMENT ............................................................................................................................... 12
            I.         Preliminary Approval Should Be Granted Because The Proposed
                       Settlement Falls Well Within The Range Of Possible Approval ......................... 12
                       A.         The Settlement Agreement Achieves An Excellent Result For The
                                  Proposed Settlement Classes, Particularly Given the Expense,
                                  Duration, and Uncertainty of Continued Litigation ................................. 15
                       B.         The Settlement Agreement Is The Result Of Thorough Arm’s-
                                  Length Negotiations Conducted By Highly Experienced Counsel.......... 19
            II.        The Proposed Settlement Classes Should Be Provisionally Certified
                       Pursuant To Rule 23............................................................................................. 21
                       A.         The Proposed Settlement Classes Meet The Requirements Of Rule
                                  23(a) ......................................................................................................... 22
                                  i.         The Proposed Settlement Classes Are So Numerous That It
                                             Is Impracticable To Bring All Class Members Before The
                                             Court ............................................................................................ 22
                                  ii.        End-Payor Plaintiff Class Representatives And The
                                             Proposed Settlement Classes Share Common Legal And
                                             Factual Questions ......................................................................... 23
                                  iii.       End-Payor Plaintiff Class Representatives’ Claims Are
                                             Typical Of The Claims Of The Members Of The Proposed
                                             Settlement Classes ....................................................................... 25
                                  iv.        Proposed Settlement Class Counsel and End-Payor Plaintiff
                                             Class Representatives Will Fairly and Adequately Protect
                                             The Interests Of The Proposed Settlement Classes ..................... 26
                       B.         The Proposed Settlement Classes Meet The Requirements Of Rule
                                  23(b)(3) .................................................................................................... 28
                                  i.         Common Questions of Law and Fact Predominate ..................... 28
                                  ii.        A Class Action Is The Superior Method To Adjudicate
                                             These Claims ................................................................................ 30
            III.       Notice To The Classes ......................................................................................... 32
  CONCLUSION ............................................................................................................................ 33




                                                                        iii
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11986 Filed 04/02/15 Page 8 of 48




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
  Cases
  Agretti v. ANR Freight Sys., Inc.,
    982 F.2d 242 (7th Cir. 1992) .................................................................................................... 12
  Amchem Prods., Inc. v. Windsor,
    521 U.S. 591 (1997) ...................................................................................................... 27, 29, 31
  Amgen Inc. v. Conn. Retirement Plans & Trust Funds,
    133 S.Ct. 1184 (2013) ......................................................................................................... 21, 28
  Bacon v. Honda of America Mfg., Inc.,
    370 F.3d 565 (6th Cir. 2004) .................................................................................................... 22
  Blades v. Monsanto Co.,
    400 F.3d 562 (8th Cir. 2005) .................................................................................................... 29
  Bobbitt v. Acad. of Reporting,
    2009 WL 2168833 (E.D. Mich. Jul. 21, 2009) ......................................................................... 13
  Bowers v. Windstream Ky. East, LLC,
    Civil Action No. 3:09-CV-440-H, 2013 U.S. Dist. LEXIS 157242
    (W.D. Ky. Nov. 1, 2013) .......................................................................................................... 20
  Cason-Merenda v. VHS of Mich., Inc.,
    Case No. 06-15601, 2013 U.S. Dist. LEXIS 131006
    (E.D. Mich. Sept. 13, 2013) .................................................................................... 21, 23, 25, 28
  Clark Equip. Co. v Int’l Union of Allied Industrial Workers of Am.,
    803 F.2d 878 (6th Cir. 1986) .................................................................................................... 13
  Comcast Corp. v. Behrend,
    133 S.Ct. 1426 (2013) ............................................................................................................... 28
  Cordes & Co. Financial Services, Inc. v. A.G. Edwards & Sons, Inc.,
    502 F.3d 91 (2d Cir. 2007) ....................................................................................................... 29
  Date v. Sony Elecs., Inc.,
    Case No. 07-15474, 2013 U.S. Dist. LEXIS 108095
    (E.D. Mich. July 31, 2013) ....................................................................................................... 23
  Dillworth v. Case Farms Processing, Inc.,
    No. 5:08-cv-1694, 2010 U.S. Dist. LEXIS 20446
    (N.D. Ohio Mar. 8, 2010) ......................................................................................................... 30
  Fidel v. Farley,
    534 F.3d 508 (6th Cir. 2008) .................................................................................................... 32
  Gautreaux v. Pierce,
    690 F.2d 616 (7th Cir. 1982) ..................................................................................................... 14




                                                                     iv
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11987 Filed 04/02/15 Page 9 of 48




  Golden v. City of Columbus,
    404 F.3d 950 (6th Cir. 2005) .................................................................................................... 22
  Griffin v. Flagstar Bancorp, Inc.,
    Case No. 2:10-cv-10610, 2013 U.S. Dist. LEXIS 173702
    (E.D. Mich. Dec. 12, 2013)..................................................................................... 12, 20, 23, 25
  Hyland v. Homeservices of Am., Inc.,
    Case No. 3:05-CV-612-R, 2008 U.S. Dist. LEXIS 90892
    (W.D. Ky. Nov. 6, 2008) .......................................................................................................... 22
  In re Aluminum Phosphide Antitrust Litig.,
     160 F.R.D. 609 (D. Kan. 1995) ................................................................................................ 23
  In re Am. Med. Sys., Inc.,
     75 F.3d 1069 (6th Cir. 1996) .............................................................................................. 22, 25
  In re Ampicillin Antitrust Litig.,
     82 F.R.D. 652 (D.D.C. 1979).................................................................................................... 19
  In re Automotive Wire Harness Sys. Antitrust Litig.,
     Case No. 12-MD-02311 (E.D. Mich. Mar. 8, 2012)................................................................. 19
  In re Blood Reagents Antitrust Litig.,
     283 F.R.D. 222 (E.D. Pa. 2012) ................................................................................................ 29
  In re Cardizem CD Antitrust Litig.,
     218 F.R.D. 508 (E.D. Mich. 2003) .................................................................................... passim
  In re Chambers Dev. Sec. Litig.,
     912 F. Supp. 822 (W.D. Pa. 1995) ............................................................................................ 16
  In re Delphi Corp. Sec. Derivatives & ERISA Litig.,
     248 F.R.D. 483 (E.D. Mich. 2008) ........................................................................................... 21
  In re Dun & Bradstreet Credit Servs. Customer Litig.,
     130 F.R.D. 366 (S.D. Ohio 1990) ............................................................................................. 19
  In re Dynamic Random Access Memory (DRAM) Antitrust Litig.,
     No. M 02-1486 PJH, 2006 U.S. Dist. LEXIS 39841
     (N.D. Cal. June 5, 2006) ........................................................................................................... 24
  In re Farmers Ins. Exchange, Claims Representatives’ Overtime Pay Litig.,
     481 F.3d 1119 (9th Cir. 2007) .................................................................................................. 16
  In re Foundry Resins Antitrust Litig.,
     242 F.R.D. 393 (S.D. Ohio 2007) ...................................................................................... passim
  In re Packaged Ice Antitrust Litig.,
     Case No. 08-MD-01952, 2011 U.S. Dist. LEXIS 17255
     (E.D. Mich. Feb. 22, 2011) ................................................................................................ passim
  In re Packaged Ice Antitrust Litig.,
     No. 08-MD-01952, 2010 WL 3070161 (E.D. Mich. Aug. 2, 2010) ......................................... 14




                                                                      v
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11988 Filed 04/02/15 Page 10 of 48




   In re Potash Antitrust Litig.,
      159 F.R.D. 682 (D. Minn. 1995) .............................................................................................. 28
   In re Pressure Sensitive Labelstock Antitrust Litig.,
      584 F. Supp. 2d 697 (M.D. Pa. 2008) ....................................................................................... 18
   In re Rent-Way Sec. Litig.,
      305 F.Supp.2d 491 (W.D. Pa. 2003) ......................................................................................... 16
   In re Scrap Metal Antitrust Litig.,
      527 F.3d 517 (6th Cir. 2008) .................................................................................. 27, 28, 29, 30
   In re Southeastern Milk Antitrust Litig.,
      Master File No. 2:09-MD-1000, 2010 U.S. Dist. LEXIS 94223
      (E.D. Tenn. Sept. 7, 2010) ........................................................................................................ 22
   In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig.,
      Case No. 1:01-CV-9000, 2001 U.S. Dist. LEXIS 26714
      (E.D. Ohio Oct. 19, 2001) ......................................................................................................... 14
   In re Universal Serv. Fund Tel. Billing Practices Litig.,
      219 F.R.D. 661 (D. Kan. 2004) ................................................................................................ 31
   In re Uranium Antitrust Litig.,
      617 F.2d 1248 (7th Cir. 1980) .................................................................................................. 19
   In re Urethane Antitrust Litig.,
      251 F.R.D. 629 (D. Kan. 2008) ................................................................................................ 29
   In re Visa Check/MasterMoney Antitrust Litig.,
      280 F.3d 124 (2d Cir. 2001) ..................................................................................................... 29
   In re Vitamins Antitrust Litig.,
      209 F.R.D. 251 (D.D.C. 2002).................................................................................................. 29
   In re Warfarin Sodium Antitrust Litig.,
      391 F.3d 516 (3d Cir. 2004) ..................................................................................................... 16
   In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig.,
      722 F.3d 838 (6th Cir. 2013) .................................................................................. 21, 23, 28, 30
   Int’l Union, UAW v. Ford Motor Co.,
      Case Nos. 05-74730, 06-10331, 2006 U.S. Dist. LEXIS 70471
      (E.D. Mich. July 13, 2006) ................................................................................................. 13, 25
   IUE-CWA v. Gen. Motors Corp.,
     238 F.R.D. 583 (E.D. Mich. 2006) ..................................................................................... 12, 19
   Karkoukli’s, Inc. v. Dohany,
     409 F.3d 279 (6th Cir. 2005) .................................................................................................... 32
   Leonhardt v. ArvinMeritor, Inc.,
     581 F. Supp. 2d 818 (E.D. Mich. 2008).................................................................................... 20
   Levva v. Medline Indus, Inc.,
     716 F.3d 510 (9th Cir. 2013) .................................................................................................... 28


                                                                      vi
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11989 Filed 04/02/15 Page 11 of 48




   Marcus v. Dep’t of Revenue,
    206 F.R.D. 509 (D. Kan. 2002) ................................................................................................ 27
   Miller v. Univ. of Cincinnati,
     241 F.R.D. 285 (S.D. Ohio 2006) ............................................................................................. 22
   Powers v. Hamilton Cnty. Public Defender Comm.,
     501 F.3d 595 (6th Cir. 2007) .................................................................................................... 28
   Rankin v. Rots,
     No. 02-cv-71045, 2006 U.S. Dist. LEXIS 45706
     (E.D. Mich. June 28, 2006) ....................................................................................................... 14
   Reed v. Advocate Health Care,
     268 F.R.D. 573 (N.D. Ill. 2009) ................................................................................................ 29
   Robbins v. Koger Props., Inc.,
     116 F.3d 1441 (11th Cir. 1997) ................................................................................................ 16
   Senter v. Gen. Motors Corp.,
     532 F.2d 511 (6th Cir. 1976) .................................................................................................... 26
   Sheick v. Auto Component Carrier LCC,
     Case No. 2:09-cv-14429, 2010 U.S. Dist. LEXIS 110411
      (E.D. Mich. Oct. 18, 2010) ...................................................................................................... 19
   Stout v. J.D. Byrider,
     228 F.3d 709 (6th Cir. 2000) .................................................................................................... 25
   Thacker v. Chesapeake Appalachia, L.L.C.,
     259 F.R.D. 262 (E.D. Ky. 2009) ......................................................................................... 19, 32
   UAW v. Gen. Motors. Corp.,
    497 F.3d 615 (6th Cir. 2007) .................................................................................................... 12
   Wal-Mart Stores, Inc. v. Dukes,
    131 S.Ct. 2541 (2011) ............................................................................................................... 21


   Other Authorities
   CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE
     § 1522, at 225-26 (2d ed. 1990) ................................................................................................ 13
   HERBERT B. NEWBERG & ALBA CONTE, NEWBERG ON CLASS ACTIONS § 11.41
     (4th ed. 2005) .......................................................................................................... 13, 14, 19, 24
   Manual § 21.63 ............................................................................................................................. 13
   MANUAL FOR COMPLEX LITIGATION (FOURTH) § 13.12 (2004) ................................................... 13
   MANUAL FOR COMPLEX LITIGATION (SECOND) § 30.46 (1986) .................................................... 13
   MANUAL FOR COMPLEX LITIGATION (THIRD) § 30.41, at 235 (3d ed. 1995) .......................... 13, 14
   NEWBERG ON CLASS ACTIONS § 18.28 at 18-98 (3d ed. 1992) ..................................................... 29



                                                                        vii
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11990 Filed 04/02/15 Page 12 of 48




   Rules
   Federal Rule of Civil Procedure 23 ....................................................................................... passim




                                                                 viii
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11991 Filed 04/02/15 Page 13 of 48




          EPPs, on behalf of themselves and all others similarly situated, by and through

   undersigned Interim Co-Lead Class Counsel, respectfully submit this memorandum in support of

   their motion seeking preliminary approval of a settlement with Hitachi Automotive Systems, Ltd.

   (“HIAMS”) and provisional certification of the proposed Settlement Classes.

                                   PRELIMINARY STATEMENT

          Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection

   Systems2, Valve Timing Control Devices, Air Flow Meters, and Electronic Throttle Bodies are

   among the automotive parts at issue in these coordinated proceedings, In re Automotive Parts

   Antitrust Litigation (“Auto Parts”), MDL No. 2311. Alternators are electromechanical devices

   that generate an electric current while engines are in operation. Starters are small electric motors

   used in starting internal combustion engines. Ignition Coils release electric energy to ignite the

   fuel/air mixture in cylinders. Motor Generators are electric motors used to power electric drive

   systems that can also capture energy from the process of stopping a vehicle to generate

   electricity through regenerative braking. Inverters convert direct current electricity to alternating

   current. Fuel Injection Systems admit fuel or a fuel/air mixture into engine cylinders, and may

   include injectors, high pressure pumps, rail assemblies, feed lines and other components sold as a

   unitary system. Fuel Injection Systems can also be sold as part of a broader system, such as an

   engine management system, or as separate components, such as the injectors, feed lines, high

   pressure pumps, and/or rail assemblies. Valve Timing Control Devices control the timing of

   2
     On December 12, 2014, End-Payor Plaintiffs filed their Notice of Intent to File Consolidated
   Amended Class Action Complaints and Add New Defendants (see, e.g., Case No. 2:13-cv-
   02203, ECF No. 16), in which they stated the consolidated amended class action complaint to be
   filed in the Fuel Injection Systems action will consolidate their claims previously asserted in the
   Air Flow Meters action and Electronic Throttle Bodies action. If the parties agree to the
   consolidation of these actions, EPPs will amend the definition of the Fuel Injection Systems
   Settlement Class to include the Air Flow Meters and Electronic Throttle Bodies Settlement
   Classes and dismiss HIAMS from the Air Flow Meters and Electronic Throttle Bodies Actions.

                                                    1
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11992 Filed 04/02/15 Page 14 of 48




   engine valves' operation, and include the VTC actuator .and/or solenoid valve. Air Flow Meters

   measure the volume of air flowing into engines. Electronic Throttle Bodies control the amount of

   air flowing into engines.     The settlement agreement with HIAMS also covers automotive

   sensors, automotive transmission control units and automotive engine control units, which are

   encompassed by HIAMS’s plea agreement with the Department of Justice.3

          This action arises from alleged conspiracies among the automotive industry’s largest

   manufacturers, marketers, and sellers of Alternators, Starters, Ignition Coils, Motor Generators,

   Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow Meters, and

   Electronic Throttle Bodies to fix the prices, rig bids, and allocate the market and customers in the

   United States for such products.

          The Alternators Defendants include: DENSO Corp., Hitachi, Ltd., HIAMS, and

   Mitsubishi Electric Corporation. The Starters Defendants include: Denso Corporation, Hitachi,

   Ltd., HIAMS, Mitsuba Corporation, and Mitsubishi Electric Corporation. The Ignition Coils

   Defendants include: Diamond Electric Mfg. Co., Ltd., Diamond Electric Mfg. Corporation

   Mitsubishi Electric Corporation, Mitsubishi Electric US Holdings, Inc., Mitsubishi Electric

   Automotive America, Inc., HIAMS, Hitachi Automotive Systems Americas, Inc., DENSO

   Corporation, and DENSO International America, Inc. The Motor Generators Defendants include:

   DENSO Corporation, DENSO International America, Inc. Hitachi, Ltd., HIAMS, and Hitachi

   Automotive Systems Americas, Inc. The Inverters Defendants include: HIAMS, Hitachi

   Automotive Systems Americas, Inc., DENSO Corporation, and DENSO International America,

   Inc. The Fuel Injection Systems, Air Flow Meters, and Electronic Throttle Bodies Defendants

   3
     As defined in the settlement agreement with HIAMS, the “Released Parts” are Alternators,
   Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve Timing
   Control Devices, Air Flow Meters, Electronic Throttle Bodies, Automotive Sensors, Automotive
   Engine Control Units and Automotive Transmission Control Units. Settlement Agreement ¶ 11.

                                                    2
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11993 Filed 04/02/15 Page 15 of 48




   include: Aisan Industry Co., Ltd., Franklin Precision Industry, Inc., Aisan Corporation of

   America, Hyundam Industrial Co., Ltd., DENSO Corporation, DENSO International America,

   Inc., DENSO International Korea Corporation, HIAMS, Hitachi Automotive Systems Americas,

   Inc., Keihin Corporation, Keihin North America, Inc., Maruyasu Industries Co., Ltd. Mikuni

   Corporation, Mikuni American Corporation, Mitsuba Corporation, American Mitsuba

   Corporation, Mitsubishi Electric Corporation, Mitsubishi Electric US Holdings, Inc., Mitsubishi

   Electric Automotive America, Inc., Robert Bosch GmbH, and Robert Bosch LLC.4 The Valve

   Timing Control Devices Defendants include: Aisin Seiki Co., Ltd., Aisin Automotive Casting,

   LLC, Delphi Automotive LLP, Delphi Automotive Systems, LLP, Korea Delphi Automotive

   Systems Corp., DENSO International Korea Corporation, DENSO Corporation, DENSO

   International America, Inc., Hitachi, Ltd., HIAMS, Hitachi Automotive Systems Americas, Inc.,

   Mitsubishi Electric Corporation, Mitsubishi Electric Automotive America, Mikuni Corporation,

   and Mikuni American Corporation.

          EPPs filed the first class action complaints involving Alternators, Starters, Ignition Coils,

   Motor Generators, Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow

   Meters, and Electronic Throttle Bodies (“Complaints”) against Defendants between February 27,

   2013 and October 3, 2013. The Complaints assert claims for relief under the Sherman Antitrust

   Act, 15 U.S.C. § 1, and various State antitrust, unjust enrichment, and consumer protection laws.

          As one of the Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel

   Injection Systems, Valve Timing Control Devices, Air Flow Meters, and Electronic Throttle

   Bodies clusters of class actions (Case Nos. 2:13-cv-00703, 2:13-cv-01103, 2:13-cv-01403, 2:13-

   cv-01503, 2:13-cv-01803, 2:13-cv-02003, 2:13-cv-02003, 2:13-cv-02203, 2:13-cv-002503, 2:13-
   4
     Each of these Defendants manufactured or sold at least one of the components listed under
   “Fuel Injection Systems” in EPPs’ Consolidated Amended Class Action Complaint. See Case No
   2:13-cv-02203, ECF No. 18, ¶ 2.

                                                   3
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11994 Filed 04/02/15 Page 16 of 48




   cv-02603) in Auto Parts, this Court consolidated and coordinated EPPs’ actions for pretrial

   purposes. The Court also appointed the undersigned firms Interim Co-Lead Class Counsel and

   Interim Liaison Counsel for the End-Payor Actions in the Master Docket for MDL No. 2311. See

   id., citing Master File No. 2:12-md-2311, Case No. 2:12-cv-00100 (Aug. 7, 2012, ECF No. 271).

   Throughout these cases, Interim Co-Lead Class Counsel has represented the interests of the

   classes of EPPs in this action, including in settlement negotiations with HIAMS. This proposed

   settlement is a result of those efforts.

           EPPs and the classes they seek to represent are consumers and businesses who indirectly

   purchased and/or leased new vehicles not for resale containing one or more Alternators, Starters,

   Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve Timing Control

   Devices, Air Flow Meters, and Electronic Throttle Bodies in the United States (i) as a component

   or (ii) as a stand-alone product. Plaintiffs allege that, in furtherance of the alleged conspiracies,

   defendants agreed, during meetings and conversations, to unlawfully fix, artificially raise,

   maintain and/or stabilize prices, rig bids for, and allocate the supply of Alternators, Starters,

   Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve Timing Control

   Devices, Air Flow Meters, and Electronic Throttle Bodies on a model-by-model basis, and then

   sold those products at noncompetitive prices to automobile manufacturers in the United States

   and elsewhere. See, e.g., EPPs’ Consolidated Amended Complaint in In re Fuel Injection

   Systems ¶¶ 1, 120.

           The United States Department of Justice (“DOJ”) has been investigating conspiracies in

   the market for automotive parts since at least February 2011, and the Federal Bureau of

   Investigation (“FBI”) has participated in raids and executed search warrants carried out in some

   of Defendants’ offices. As a result of the DOJ investigation, HIAMS, a party to the Settlement




                                                    4
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11995 Filed 04/02/15 Page 17 of 48




   Agreement that is the subject of this motion, agreed to plead guilty and pay a $195 million

   criminal fine for participating in conspiracies among major automotive parts manufacturers, the

   primary purpose of which was to allocate the supply of, rig bids for, and fix, stabilize and

   maintain the prices of, starter motors, alternators, air flow meters, valve timing control devices,

   fuel injection systems, electronic throttle bodies, ignition coils, inverters and motor generators

   sold to, depending on the product, Nissan Motor Company, Ltd., Honda Motor Company, Ltd.,

   General Motors Company, Toyota Motor Corporation, Ford Motor Company, Chrylser Group

   LLC, Fuji Heavy Industries, Ltd. and others in violation of the Sherman Act, 15 U.S.C. § 1. See

   HIAMS Plea Agreement at ¶ 4(a), United States v. Hitachi Automotive Systems, Ltd., 2:13-cr-

   20707-GCS-PJK (E.D. Mich. Aug. 5, 2013) (ECF No. 8) (Ex. 2). HIAMS’s plea agreement with

   the DOJ also included cooperation obligations and a release covering Automotive Sensors,

   Automotive Transmission Control Units, and Automotive Engine Control Units.

          HIAMS’s plea agreement with the DOJ did not include an order for restitution because of

   the potential for recovery through civil causes of action. The instant settlement is the first in each

   of the Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems,

   Valve Timing Control Devices, Air Flow Meters, and Electronic Throttle Bodies cases. Though

   occurring early in this litigation, the combined settlements are substantial, providing a

   guaranteed recovery of $46,740,000.00 to the End-Payors in these cases. Standing alone, the

   recovery from HIAMS is significant. But the settlement is even more valuable to the EPPs

   because it also requires HIAMS to provide early and comprehensive cooperation in the form of,

   inter alia, attorney proffers, interviews with and depositions of witnesses, and the production of

   certain documents (including transactional data), related to the claims asserted in this case,




                                                     5
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11996 Filed 04/02/15 Page 18 of 48




   including information concerning sales of Released Parts.5 The ability to obtain such information

   without protracted and expensive discovery is quite valuable to EPPs. HIAMS’s cooperation will

   greatly enhance Plaintiffs’ ability to prosecute their claims against non-settling defendants.

            A payment of $46,740,000.00 is a meaningful settlement and is a significant early

   achievement in this litigation. It also bears noting that the Settlement Agreement provides that

   HIAMS’s sales will remain in the case for purposes of computing the treble damages claim

   against the non-settling defendants and shall be part of any joint and several liability claims

   against other current or future defendants. See Settlement Agreement ¶ 52. In other words, EPPs

   and the proposed Settlement Classes retain their ability to recover from the remaining defendants

   the entire damages caused by the alleged conspiracies, even those attributable to HIAMS, less

   only the amount paid by HIAMS in settlement.

            It is respectfully submitted that, for all the reasons set forth, the settlement with HIAMS

   is in the best interest of the proposed Settlement Classes and merits the Court’s preliminary

   approval. EPPs therefore request the entry of an Order:

       1.      Preliminarily approving the Settlement;

       2.      Provisionally certifying the proposed Settlement Classes;

       3.      Staying the proceedings against Releasees (as defined in the settlement agreement

               with HIAMS), in particular HIAMS, Hitachi Automotive Systems Americas, Inc.,

               and Hitachi, Ltd. in accordance with the terms of the Settlement Agreement;

       4.      Authorizing EPPs to provide notice of the Settlement Agreement to class members at

               a later date, in a form and manner to be approved in advance by this Court; and



   5
     Including Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection
   Systems, Valve Timing Control Devices, Air Flow Meters, and Electronic Throttle Bodies sold
   for installation in vehicles known to be exported to the United States.

                                                     6
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11997 Filed 04/02/15 Page 19 of 48




      5.      Appointing Interim Co-Lead Class Counsel for EPPs as Settlement Class Counsel for

              this settlement.

     THE BASIC TERMS AND BACKGROUND OF THE SETTLEMENT AGREEMENT

           The Settlement Agreement with HIAMS arises from extensive arm’s length and good

   faith negotiations. Counsel participated in fact-gathering sessions and informational meetings, as

   well as extensive negotiations that took place through telephone calls and multiple in-person

   meetings and over the course of two multi-day mediation sessions with Kenneth Feinberg, one of

   the nation’s foremost mediators. Settlement discussions began between the parties several years

   ago, and two separate mediations were held—two days of mediation with Mr. Feinberg on

   March 4-5, 2014, which were not successful, followed by another two days of mediation with

   Mr. Feinberg on December 9-10, 2014. It was only after all of these formal and information

   settlement negotiations and mediations that a settlement was reached.

           The Settlement Classes: The Settlement Agreement defines the Settlement Classes as

   follows:

                  “Alternators Settlement Class” is defined as:

                  All persons and entities from January 1, 2000, through the Execution Date of this
                  Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
                  and/or leased one or more Alternators in the United States, not for resale (i) as a
                  component in a new vehicle or (ii) as a stand-alone product. Excluded from the
                  Settlement Class are Defendants, their parent companies, subsidiaries and
                  affiliates, any co-conspirators, federal governmental entities and instrumentalities
                  of the federal government, states and their subdivisions, agencies and
                  instrumentalities, and persons who purchased Alternators directly or for resale.

                  “Starters Settlement Class” is defined as:

                  All persons and entities from January 1, 2000, through the Execution Date of this
                  Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
                  and/or leased one or more Starters in the United States not for resale (i) as a
                  component in a new vehicle or (ii) as a stand-alone product. Excluded from the
                  Settlement Class are Defendants, their parent companies, subsidiaries and



                                                   7
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11998 Filed 04/02/15 Page 20 of 48




              affiliates, any co-conspirators, federal governmental entities and instrumentalities
              of the federal government, states and their subdivisions, agencies and
              instrumentalities, and persons who purchased Starters directly or for resale.

              “Ignition Coils Settlement Class” is defined as:

              All persons and entities from January 1, 2000, through the Execution Date of this
              Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
              and/or leased one or more Ignition Coils in the United States not for resale (i) as
              a component in a new vehicle or (ii) as a stand-alone product. Excluded from the
              Settlement Class are Defendants, their parent companies, subsidiaries and
              affiliates, any co-conspirators, federal governmental entities and instrumentalities
              of the federal government, states and their subdivisions, agencies and
              instrumentalities, and persons who purchased Ignition Coils directly or for resale.

              “Motor Generators Settlement Class” is defined as:

              All persons and entities from January 1, 2000, through the Execution Date of this
              Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
              and/or leased one or more Motor Generators in the United States not for resale (i)
              as a component in a new vehicle or (ii) as a stand-alone product. Excluded from
              the Settlement Class are Defendants, their parent companies, subsidiaries and
              affiliates, any co-conspirators, federal governmental entities and instrumentalities
              of the federal government, states and their subdivisions, agencies and
              instrumentalities, and persons who purchased Motor Generators directly or for
              resale.

              “Inverters Settlement Class” is defined as:

              All persons and entities from January 1, 2000, through the Execution Date of this
              Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
              and/or leased one or more Inverters in the United States not for resale (i) as a
              component in a new vehicle or (ii) as a stand-alone product. Excluded from the
              Settlement Class are Defendants, their parent companies, subsidiaries and
              affiliates, any co-conspirators, federal governmental entities and instrumentalities
              of the federal government, states and their subdivisions, agencies and
              instrumentalities, and persons who purchased Inverters directly or for resale.

               “Fuel Injection Systems Settlement Class” is defined as:

              All persons and entities from January 1, 2000, through the Execution Date of this
              Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
              and/or leased one or more Fuel Injection Systems in the United States not for
              resale (i) as a component in a new vehicle or (ii) as a stand-alone product.
              Excluded from the Settlement Class are Defendants, their parent companies,
              subsidiaries and affiliates, any co-conspirators, federal governmental entities and



                                               8
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.11999 Filed 04/02/15 Page 21 of 48




                 instrumentalities of the federal government, states and their subdivisions, agencies
                 and instrumentalities, and persons who purchased Fuel Injection Systems directly
                 or for resale.

                 “Valve Timing Control Devices Settlement Class” is defined as:

                 All persons and entities from January 1, 2000, through the Execution Date of this
                 Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
                 and/or leased one or more Valve Control Timing Devices in the United States not
                 for resale (i) as a component in a new vehicle or (ii) as a stand-alone product.
                 Excluded from the Settlement Class are Defendants, their parent companies,
                 subsidiaries and affiliates, any co-conspirators, federal governmental entities and
                 instrumentalities of the federal government, states and their subdivisions, agencies
                 and instrumentalities, and persons who purchased Valve Timing Control Devices
                 directly or for resale.

                  “Air Flow Meters Settlement Class” is defined as:

                 All persons and entities from January 1, 2000, through the Execution Date of this
                 Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
                 and/or leased one or more Air Flow Meters in the United States not for resale (i)
                 as a component in a new vehicle or (ii) as a stand-alone product. Excluded from
                 the Settlement Class are Defendants, their parent companies, subsidiaries and
                 affiliates, any co-conspirators, federal governmental entities and instrumentalities
                 of the federal government, states and their subdivisions, agencies and
                 instrumentalities, and persons who purchased Air Flow Meters directly or for
                 resale.

                  “Electronic Throttle Bodies Settlement Class” is defined as:

                 All persons and entities from January 1, 2000, through the Execution Date of this
                 Agreement between HIAMS and End-Payor Plaintiffs who: indirectly purchased
                 and/or leased one or more Electronic Throttle Bodies in the United States not for
                 resale (i) as a component in a new vehicle or (ii) as a stand-alone product.
                 Excluded from the Settlement Class are Defendants, their parent companies,
                 subsidiaries and affiliates, any co-conspirators, federal governmental entities and
                 instrumentalities of the federal government, states and their subdivisions, agencies
                 and instrumentalities, and persons who purchased Electronic Throttle Bodies
                 directly or for resale.

          Settlement Amount: HIAMS paid USD 46,740,000.00. See id. ¶ 23. The Settlement

   Amount has been paid into an interest-bearing escrow account at Wells Fargo & Company. See

   id. ¶ 18. Thereafter, EPPs shall allocate the Settlement Amount as follows: For the Alternators




                                                  9
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12000 Filed 04/02/15 Page 22 of 48




   Settlement Class, USD 6,216,420.00 plus accrued interest on said deposits; for the Starters

   Settlement Class, USD 3,832,680.00 plus accrued interest on said deposits; for the Ignition Coils

   Settlement Class, USD 7,431,660.00 plus accrued interest on said deposits; for the Motor

   Generators Settlement Class, USD 2,337,000.00 plus accrued interest on said deposits; for the

   Inverters Settlement Class, USD 2,337,000.00 plus accrued interest on said deposits; for the Fuel

   Injection Systems Settlement Class, USD 8,693,640.00 plus accrued interest on said deposits; for

   the Valve Timing Control Devices Settlement Class, USD 3,972,900.00 plus accrued interest on

   said deposits; for the Air Flow Meters Settlement Class, USD 5,047,920.00 plus accrued interest

   on said deposits; and for the Electronic Throttle Bodies, USD 6,870,780.00 plus accrued interest

   on said deposits. The allocation of the Settlement Amount to the Settlement Classes is subject to

   approval by the Court after notice to the Settlement Classes as directed by the Court.

          Cooperation: HIAMS has agreed to provide extensive cooperation to the proposed

   Settlement Classes that will significantly aid in the prosecution of antitrust claims against the

   remaining defendants. A general summary of HIAMS’s cooperation obligations is provided

   below. The full extent of this cooperation is set forth in more detail in Section J of the Settlement

   Agreement. HIAMS is required to provide, in general, the following types of cooperation, as

   more specifically set forth in the Settlement Agreement:

          (a)     All transactional data that HIAMS provided to the DOJ (including all English

   Translations thereof produced to DOJ) relating to Released Parts;

          (b)     Documents, if any, provided to Government Entities as of the Execution Date of

   this Agreement (including all English Translations thereof provided to those Government

   Entities) relating to their investigation into alleged competition violations with respect to

   Released Parts, except that HIAMS shall not be required to provide documents protected by the




                                                    10
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12001 Filed 04/02/15 Page 23 of 48




   work product doctrine, attorney-client privilege, prohibited by the relevant antitrust agencies

   and/or by the law of the relevant foreign jurisdictions, or prohibited by court order;

          (c)     Pre-existing transactional data from January 1, 1996 to two years from the

   Execution Date of the Settlement Agreement related to Released Parts; and

          (d)      (1) Documents, if any, that relate to or concern the allegations in the Complaints

   and reflect collusion or attempted collusion with respect to Released Parts, by an employee,

   officer, or director of HIAMS with any employee, officer or director of another manufacturer or

   seller of the Released Parts; (2) documents, if any, concerning HIAMS’s determinations of its

   prices for Released Parts including pricing policies, formulas and guidelines; and (3) documents,

   if any, showing how employees were trained or instructed to bid and set prices submitted to

   purchasers or potential purchasers, for Released Parts, in RFQs, or any other procurement

   process.

   See Settlement Agreement ¶ 37.

          Released Claims: The Settlement Agreement releases only HIAMS, Hitachi Automotive

   Systems Americas, Inc., Hitachi, Ltd., Clarion Co., Ltd., Hitachi Vehicle Energy, Ltd. and

   HIAMS’s subsidiaries, parents, affiliates, and predecessors (“Releasees”) from all Settlement

   Class Member claims arising out of or relating in any way to any conduct alleged in the

   Complaints or any act or omission of Releasees, concerning the Released Parts. See Settlement

   Agreement ¶ 12. However, the release does not include Hitachi Metals, Ltd. (including the

   former Hitachi Cable, Ltd.) and Hitachi Chemical Co., Ltd. or (1) any claims made by direct

   purchasers of Released Parts; (2) any claims made by automotive dealerships that are indirect

   purchasers of Released Parts; (3) any claims made by any State, State agency, or instrumentality

   or political subdivision of a State, as to government purchases and/or penalties relating to



                                                    11
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12002 Filed 04/02/15 Page 24 of 48




   Released Parts; (4) claims involving any negligence, personal injury, breach of contract,

   bailment, failure to deliver lost goods, damaged or delayed goods, product defect, securities, or

   similar claim relating to Released Parts; (5) claims concerning any automotive part other than

   Released Parts; (6) claims under laws other than those of the United States and the states thereof;

   and (7) claims for damages under the state law or local laws of any jurisdiction other than an

   Indirect Purchaser State. See Id. ¶ 25. Further, the Settlement Agreement provides that HIAMS’s

   sales shall remain in the continuing litigation against the non-settling Defendants, who remain

   jointly and severally liable for all damages caused by the conspiracies. See id. ¶ 52.

                                              ARGUMENT

             The Settlement Agreement is not only fair, reasonable and adequate resulting from

   extensive, arm’s length negotiations by experienced counsel but also a thoughtfully conceived

   resolution of the proposed Settlement Classes’ claims that maximizes their recovery and

   guarantees early, significant cooperation by HIAMS in the continued prosecution of EPPs’

   claims.

   I.        Preliminary Approval Should Be Granted Because The Proposed Settlement Falls
             Well Within The Range Of Possible Approval

             It is well-established in the Sixth Circuit that there is an overriding public interest in

   settling and quieting litigation, particularly class actions. See Griffin v. Flagstar Bancorp, Inc.,

   Case No. 2:10-cv-10610, 2013 U.S. Dist. LEXIS 173702, at *6 (E.D. Mich. Dec. 12, 2013)

   (citing UAW v. Gen. Motors. Corp., 497 F.3d 615, 631 (6th Cir. 2007) (noting “the federal policy

   favoring settlement of class actions”)); see also IUE-CWA v. Gen. Motors Corp., 238 F.R.D.

   583, 593 (E.D. Mich. 2006). “This policy applies with equal force whether the settlement is

   partial, involving only some of the defendants, or complete.” In re Packaged Ice Antitrust Litig.,

   Case No. 08-MD-01952, 2011 U.S. Dist. LEXIS 17255, at *44 (E.D. Mich. Feb. 22, 2011)



                                                    12
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12003 Filed 04/02/15 Page 25 of 48




   (“Packaged Ice”); see also Agretti v. ANR Freight Sys., Inc., 982 F.2d 242, 247 (7th Cir. 1992)

   (“In complex litigation with a plaintiff class, ‘partial settlements often play a vital role in

   resolving class actions’” (quoting MANUAL FOR COMPLEX LITIGATION (SECOND) § 30.46 (1986)).

   In fact, “settlement should be facilitated at as early a stage of the litigation as possible.” 6A

   CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 1522, at

   225-26 (2d ed. 1990) (citing 1983 Advisory Committee Notes); see also MANUAL FOR COMPLEX

   LITIGATION (FOURTH) § 13.12 (2004) (“Manual”) (“settlement should be explored early in the

   case”).

             Approval of a proposed class action settlement proceeds in two steps. First, the court

   grants preliminary approval to the settlement and provisionally certifies a settlement class.

   Second, after notice of the settlement is provided to the class and the court conducts a fairness

   hearing, the court may grant final approval to the settlement. See Manual § 21.63; see also

   Bobbitt v. Acad. of Reporting, 2009 WL 2168833, at *1 (E.D. Mich. Jul. 21, 2009) (citing

   authorities).

             A proposed settlement agreement should be preliminarily approved if “the preliminary

   evaluation of the proposed settlement does not disclose grounds to doubt its fairness or other

   obvious deficiencies . . . and [the settlement] appears to fall within the range of possible

   approval.” Manual § 30.41 at 237; see also Int’l Union, UAW v. Ford Motor Co., Case Nos. 05-

   74730, 06-10331, 2006 U.S. Dist. LEXIS 70471 at *11 (E.D. Mich. July 13, 2006). The district

   court’s role in reviewing settlements “must be limited to the extent necessary to reach a reasoned

   judgment that the agreement is not the product of fraud or overreaching by, or collusion between,

   the negotiating parties, and that the settlement, taken as a whole, is fair, reasonable and adequate

   to all concerned.” Clark Equip. Co. v Int’l Union of Allied Industrial Workers of Am., 803 F.2d




                                                   13
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12004 Filed 04/02/15 Page 26 of 48




   878, 880 (6th Cir. 1986). Courts adhere to “an initial presumption of fairness when a proposed

   class settlement, which was negotiated at arm’s length by counsel for the class, is presented for

   court approval.” 4 HERBERT B. NEWBERG & ALBA CONTE, NEWBERG ON CLASS ACTIONS § 11.41

   (4th ed. 2005) (“Newberg”) (collecting cases); cf. Rankin v. Rots, No. 02-cv-71045, 2006 U.S.

   Dist. LEXIS 45706, at *9 (E.D. Mich. June 28, 2006) (“[T]he only question . . . is whether the

   settlement, taken as a whole, is so unfair on its face as to preclude judicial approval.”) (internal

   quotation marks omitted).

         In considering whether to grant preliminary approval, the court is not required at this point

   to make a final determination of the adequacy of the settlement or to delve extensively into the

   merits of the settlement. See In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig., Case

   No. 1:01-CV-9000, 2001 U.S. Dist. LEXIS 26714, at *17 (E.D. Ohio Oct. 19, 2001) (“Sulzer

   Hip”). These inquiries are reserved for the final approval stage of the class settlement approval

   process. Nor will any class member’s substantive rights be prejudiced by preliminary approval

   because the proposed preliminary approval is solely to provide authority for notifying the class

   of the terms of the settlement agreement to set the stage for review of its final approval. Id.;

   Newburg § 11.25. Consequently, courts generally engage only in a limited inquiry to determine

   whether a proposed settlement falls within the range of possible approval and thus should be

   preliminarily approved. Sulzer Hip, 2001 U.S. Dist. LEXIS 26714 at *17-18 (preliminary

   approval may be based on “informal presentations” because of “substantial judicial processes

   that remain”) (quoting MANUAL FOR COMPLEX LITIGATION (THIRD) § 30.41, at 235 (1995)). See

   also In re Packaged Ice Antitrust Litig., No. 08-MD-01952, 2010 WL 3070161, at *4 (E.D.

   Mich. Aug. 2, 2010), quoting Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982) (inquiry




                                                   14
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12005 Filed 04/02/15 Page 27 of 48




   limited to settlement’s potential for final approval and propriety of class notice and fairness

   hearing).

         In evaluating whether a settlement is fair, reasonable and adequate, courts in the Sixth

   Circuit consider a number of factors:

          (1) the likelihood of success on the merits weighed against the amount and form
          of relief in the settlement; (2) the complexity expense and likely duration of the
          litigation; (3) the opinions of class counsel and class representatives; (4) the
          amount of discovery engaged in by the parties; (5) the reaction of absent class
          members; (6) the risk of fraud or collusion; and (7) the public interest. The Court
          may choose to consider only those factors that are relevant to the settlement at
          hand and may weigh particular factors according to the demands of the case.

   Packaged Ice, 2011 U.S. Dist. LEXIS 17255 at *46-47 (quotation marks and citations omitted).

         A court is not required at the preliminary approval stage to determine whether it ultimately

   will finally approve the settlement. Nevertheless, as set forth in detail below, preliminary

   consideration of the factors a court considers when evaluating the fairness of a settlement for

   purposes of deciding whether to grant final approval supports this Court’s granting preliminary

   approval of the Settlement Agreement.

          A.      The Settlement Agreement Achieves An Excellent Result For The Proposed
                  Settlement Classes, Particularly Given the Expense, Duration, and
                  Uncertainty of Continued Litigation

          Antitrust class actions are “arguably the most complex action(s) to prosecute. The legal

   and factual issues involved are always numerous and uncertain in outcome.” In re Packaged Ice

   Antitrust Litig., Case No. 08-MDL-01952, 2011 U.S. Dist. LEXIS 150427, at *76 (E.D. Mich.

   Dec. 13, 2011) (quoting In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 639 (E.D. Pa.

   2003) (“Linerboard”)); see also In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 533 (E.D.

   Mich. 2003) (“Cardizem”) (“Moreover, the complexity of this case cannot be overstated.

   Antitrust class actions are inherently complex”). Motions have already been vigorously

   contested, and the discovery process would be all the more complicated due to the unique issues


                                                  15
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12006 Filed 04/02/15 Page 28 of 48




   that attend discovery against foreign parties.6 Additionally, HIAMS would assert various

   defenses, and a jury trial might well turn on close questions of proof, many of which would be

   the subject of complicated expert testimony, particularly with regard to damages, making the

   outcome of such trial uncertain for both parties. See, e.g., Cardizem, 218 F.R.D. at 523 (in

   approving settlement, noting that “the prospect of a trial necessarily involves the risk that

   Plaintiffs would obtain little or no recovery and that “no matter how confident trial counsel may

   be, they cannot predict with 100% accuracy a jury’s favorable verdict, particularly in complex

   antitrust litigation”); Packaged Ice, 2011 U.S. Dist. LEXIS 17255 at *53-54 (noting the

   “undeniable inherent risks” in antitrust class action litigation including “whether the class will be

   certified and upheld on appeal, whether the conspiracies as alleged in the Complaint can be

   established, whether Plaintiffs will be able to demonstrate class wide antitrust impact and

   ultimately whether Plaintiffs will be able to prove damages”). Id. Given this uncertainty, “[a]

   very large bird in the hand in this litigation is surely worth more than whatever birds are lurking

   in the bushes.” In re Chambers Dev. Sec. Litig., 912 F. Supp. 822, 838 (W.D. Pa. 1995).

         Moreover, given the stakes involved, an appeal is nearly certain to follow regardless of the

   outcome at trial. This creates additional risk, as judgments following trial may be overturned on

   appeal. See, e.g., In re Farmers Ins. Exchange, Claims Representatives’ Overtime Pay Litig., 481

   F.3d 1119 (9th Cir. 2007) ($52.5 million class action judgment following trial reversed on

   appeal); Robbins v. Koger Props., Inc., 116 F.3d 1441 (11th Cir. 1997) (jury verdict of $81

   million for plaintiffs reversed and judgment entered for defendant). And, even if class members

   were willing to assume all of the litigation risks, the passage of time would introduce still more

   risks in terms of appeals and possible changes in the law that would, in light of the time value of
   6
     Because Interim Co-Lead Class Counsel may have to litigate against the other defendants
   through trial and appeal, their duties to the Classes preclude a more detailed discussion of their
   potential litigation risks.

                                                    16
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12007 Filed 04/02/15 Page 29 of 48




   money, make future recoveries less valuable than recovery today. See In re Warfarin Sodium

   Antitrust Litig., 391 F.3d 516, 536 (3d Cir. 2004) (“[I]t was inevitable that post-trial motions and

   appeals would not only further prolong the litigation but also reduce the value of any recovery to

   the class”); In re Rent-Way Sec. Litig., 305 F. Supp. 2d 491, 501 (W.D. Pa. 2003) (“[A] future

   recovery, even one in excess of the proposed Settlement, may ultimately prove less valuable to

   the Classes than receiving the benefits of the proposed Settlement at this time”). Hence, “the

   certain and immediate benefits to the Class represented by the Settlement outweigh the

   possibility of obtaining a better result at trial, particularly when factoring in the additional

   expense and long delay inherent in prosecuting this complex litigation through trial and appeal.”

   Cardizem, 218 F.R.D. at 525.

         Against this background, an early settlement providing the substantial benefits afforded

   here represents an excellent result for the members of the proposed Settlement Classes.

   HIAMS’s $46,740,000.00 payment provides for significant compensation to the proposed

   Settlement Classes that will be available earlier – perhaps years earlier – than would be the case

   if litigation against HIAMS continued through trial and appeal. Moreover, courts have long

   recognized that early settlements of this type create value beyond their direct pecuniary benefit to

   the class. Early settlements can serve as “icebreaker” agreements, strengthening plaintiffs’ hand

   in the litigation and encouraging future settlements. See Packaged Ice, 2011 U.S. Dist. LEXIS

   17255 at *50-51 (noting “significant value” of icebreaker settlement); Linerboard, 292 F. Supp.

   2d at 643; In re Corrugated Container Antitrust Litig., 1981 WL 2093, *16 (S.D. Tex. Jan. 27,

   1981 (“Corrugated Container”).

          Of particular importance is the fact that the Settlement Agreement further requires

   HIAMS to provide substantial cooperation to the EPPs’ counsel by providing factual proffers,




                                                   17
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12008 Filed 04/02/15 Page 30 of 48




   interviews, documents, depositions, and trial testimony, among other cooperation. See Settlement

   Agreement § J. This cooperation is extremely valuable to the classes. The effective early-stage

   cooperation facilitated by the Settlement Agreement will afford the EPPs access to documents

   and witnesses without protracted and expensive discovery – a significant class-wide benefit. See,

   e.g., In re Packaged Ice Antitrust Litig., Case No. 08-MD-01952, 2010 U.S. Dist. LEXIS 77645,

   at *44 (E.D. Mich. Aug. 2, 2010) (“Particularly where, as here, there is the potential for a

   significant benefit to the class in the form of cooperation on the part of the settling Defendant,

   this Court is reluctant to refuse to consider the very preliminary approval that will trigger that

   cooperation”); see also Linerboard, 292 F. Supp. 2d at 643; Corrugated Container, 1981 WL

   2093 at *16; cf. In re Pressure Sensitive Labelstock Antitrust Litig., 584 F. Supp. 2d 697, 702

   (M.D. Pa. 2008) (“[T]he benefit of obtaining the cooperation of the Settling Defendants tends to

   offset the fact that they would be able to withstand a larger judgment”).

          The value of an early settlement can be so great that early-settling defendants often obtain

   a substantial discount relative to the remaining defendants. The Linerboard court, for example,

   approved a settlement with the first-settling defendant for less than one percent of sales and

   approximately one-third of the percentage of sales obtained from the other defendants. Compare

   Linerboard, 292 F. Supp. 2d at 643 (approving icebreaker settlement for approximately 0.4% of

   sales), with Linerboard, 321 F. Supp. 2d 619, 633 (E.D. Pa. 2004) (approving settlements with

   final two defendants for 1.6% and 2% of sales). In accepting this discounted recovery from the

   first-settling defendants, the Linerboard court emphasized the “substantial” intangible benefit to

   the class of the icebreaker agreement. 292 F. Supp. 2d at 643.

         The Settlement Agreement also specifically provides that it does not purport to alter the

   non-settling defendants’ joint and several liability for the full damages caused by the alleged




                                                   18
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12009 Filed 04/02/15 Page 31 of 48




   conspiracies, including all sales made by these Defendants. See Settlement Agreement ¶ 48. In

   this regard, the Settlement Agreement is similar to one of the settlements approved in

   Corrugated Container, where the court noted the “valuable provision” under which plaintiffs

   reserved their right to recover full damages from the remaining defendants, less the actual

   amount of the initial settlement. 1981 WL 2093 at *17; see also In re Uranium Antitrust Litig.,

   617 F.2d 1248 (7th Cir. 1980); In re Ampicillin Antitrust Litig., 82 F.R.D. 652, 654 (D.D.C.

   1979) (approving settlement where class will “relinquish no part of its potential recovery” due to

   joint and several liability). Here too, the EPPs will be able to pursue their full damages, with no

   diminution other than deduction of the actual HIAMS settlement amount.

          B.      The Settlement Agreement Is The Result Of Thorough Arm’s-Length
                  Negotiations Conducted By Highly Experienced Counsel

         This settlement is entitled to “an initial presumption of fairness” because it is the result of

   arm’s-length negotiations among experienced counsel.7 Newberg § 11.41. The judgment of

   proposed Settlement Class Counsel that the settlement is in the best interest of the proposed

   Settlement Classes “is entitled to significant weight, and supports the fairness of the class

   settlement.” Sheick v. Auto Component Carrier LCC, Case No. 2:09-cv-14429, 2010 U.S. Dist.

   LEXIS 110411, at *51 (E.D. Mich. Oct. 18, 2010) (quoting IUE-CWA, 238 F.R.D. at 597); see

   also Cardizem, 218 F.R.D. at 525. Courts give great weight to the recommendation of

   experienced counsel for the parties in evaluating the adequacy of a settlement.

          “Preliminary approval of a proposed settlement is based upon the court’s familiarity with

   the issues and evidence, as well as the arms-length nature of the negotiations prior to the


   7
    There is no doubt that the counsel who negotiated the Settlement Agreement on behalf of both
   End-Payor Plaintiffs and HIAMS are highly experienced and capable. See End-Payor Plaintiffs’
   Application For Appointment Of Interim Co-Lead Class Counsel And Liaison Counsel, In re
   Automotive Wire Harness Sys. Antitrust Litig., Case No. 12-MD-02311 (E.D. Mich. Mar. 8,
   2012), ECF No. 24.

                                                    19
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12010 Filed 04/02/15 Page 32 of 48




   proposed settlement, ensuring that the proposed settlement is not illegal or collusive.” Thacker v.

   Chesapeake Appalachia, L.L.C., 259 F.R.D. 262 (E.D. Ky. 2009) (quoting In re Dun &

   Bradstreet Credit Servs. Customer Litig., 130 F.R.D. 366, 370 (S.D. Ohio 1990). Here, the

   Settlement Agreement is the result of lengthy and hard-fought negotiations between counsel

   experienced in complex antitrust and consumer class action litigation. The Settlement

   Agreement, in its initial form, was negotiated over a period of more than one year by Interim Co-

   Lead Class Counsel in a process that involved multiple in-person meetings and calls with counsel

   for HIAMS, as well as two multi-day mediation sessions with Kenneth Feinberg. In preparation

   for such negotiations, Interim Co-Lead Class Counsel undertook a diligent and thorough

   investigation of the legal and factual issues posed by this litigation and consulted extensively

   with experienced economists.

         Thus, despite the fact that the Settlement Agreement comes at an early stage of this

   multidistrict litigation, proposed Settlement Class Counsel was well-informed as to the facts of

   the case and the strength of the claims asserted when the terms of the Settlement Agreement

   were initially negotiated. See Packaged Ice, 2011 U.S. Dist. LEXIS 17255, at *56 (“[T]he

   absence of formal discovery is not an obstacle [to settlement approval] so long as the parties and

   the Court have adequate information in order to evaluate the relative position of the parties.”)

   (quotation marks and citation omitted); Griffin v. Flagstar Bancorp, Inc., 2013 U.S. Dist. LEXIS

   173702 (same).

         Moreover, these negotiations were adversarial and conducted in the utmost good faith.

   “Courts presume the absence of fraud or collusion in class action settlements unless there is

   evidence to the contrary.” Leonhardt v. ArvinMeritor, Inc., 581 F. Supp. 2d 818, 838 (E.D. Mich.

   2008); Bowers v. Windstream Ky. East, LLC, Civil Action No. 3:09-CV-440-H, 2013 U.S. Dist.




                                                   20
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12011 Filed 04/02/15 Page 33 of 48




   LEXIS 157242, at *5 (W.D. Ky. Nov. 1, 2013). There is nothing in the course of the negotiations

   or the substance of the settlement that “disclose[s] grounds to doubt its fairness.” Manual §

   30.41.

   II.      The Proposed Settlement Classes Should Be Provisionally Certified Pursuant To
            Rule 23

            The Manual notes the propriety of certifying a class solely for purposes of settlement, see

   Manual § 21.32, and courts in this Circuit routinely provisionally approve a proposed settlement

   class before deciding plaintiffs’ motion for class certification. See, e.g., In re Delphi Corp. Sec.

   Derivatives & ERISA Litig., 248 F.R.D. 483, 486 n. 2 (E.D. Mich. 2008) (granting final approval

   to both ERISA and Securities settlement classes, noting the court’s earlier, preliminary approval

   of the settlement classes granted prior to a hearing on defendants' motions to dismiss); Cardizem,

   218 F.R.D. at 516-17, 530 (granting final approval of proposed settlement, noting its earlier

   preliminary approval of both the proposed settlement class and the proposed settlement

   agreement granted prior to class certification and prior to hearing on motions to dismiss). A court

   may grant provisional certification where, as here, the proposed settlement classes satisfy the

   four prerequisites of Rule 23(a) (numerosity, commonality, typicality and adequacy), as well as

   one of the three subsections of Rule 23(b). See In re Packaged Ice Antitrust Litig., No. 08-MD-

   01952, 2010 U.S. Dist. LEXIS 140235, at *27-28 (E.D. Mich. Sept. 2, 2010).

            While the Supreme Court recently reiterated that a trial court must conduct a “rigorous

   analysis” to confirm that the requirements of Rule 23 have been met, Wal-Mart Stores, Inc. v.

   Dukes, 131 S.Ct. 2541, 2551 (2011), “the requisite ‘rigorous analysis’ of the record and

   consideration of the merits must be focused on and limited to the question whether the Rule’s

   requirements have been established.” Cason-Merenda v. VHS of Mich., Inc., 2013 U.S. Dist.

   LEXIS 131006, at *20-21 (E.D. Mich. Sept. 13, 2013) (citing In re Whirlpool Corp. Front-



                                                    21
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12012 Filed 04/02/15 Page 34 of 48




   Loading Washer Prods. Liab. Litig., 722 F.3d 838, 851-52 (6th Cir. 2013)). Permissible inquiry

   into the merits of plaintiffs’ claims at the class certification stage is limited:

           Rule 23 grants courts no license to engage in free-ranging merits inquiries at the
           class certification stage. Merits questions may be considered to the extent – but
           only to the extent – that they are relevant to determining whether the Rule 23
           prerequisites for class certification are satisfied.
   Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1194-95 (2013) (“Amgen”)

   (citing Dukes, 131 S.Ct. at 2552 n.6). “In other words, district courts may not turn the class

   certification proceedings into a dress rehearsal for the trial on the merits.” In re Whirlpool Corp.,

   722 F.3d 838, 851-52 (internal quotation marks and citation omitted). Here, as demonstrated

   below, even under a “rigorous analysis,” the requirements of Rule 23 are easily met.

           A.      The Proposed Settlement Classes Meet The Requirements Of Rule 23(a)

           Horizontal price fixing class actions are routinely certified in this District and elsewhere.

   EPPs’ allegations of “a per se violation of the antitrust laws are exactly the kind of allegations

   which may be proven on a class-wide basis through common proof.” In re Southeastern Milk

   Antitrust Litig., Master File No. 2:09-MD-1000, 2010 U.S. Dist. LEXIS 94223, at *35 (E.D.

   Tenn. Sept. 7, 2010). “Courts have held that the existence of a conspiracy is the predominant

   issue in price fixing cases, warranting certification of the class even where significant individual

   issues are present.” Id. at *33 (internal quotation marks and citations omitted). “As a rule of

   thumb, a price fixing antitrust conspiracy model is generally regarded as well suited for class

   treatment.” In re Foundry Resins Antitrust Litig., 242 F.R.D. 393, 409 (S.D. Ohio 2007); see also

   Hyland v. Homeservices of Am., Inc., Case No. 3:05-CV-612-R, 2008 U.S. Dist. LEXIS 90892,

   at *12 (W.D. Ky. Nov. 6, 2008).

                 i.        The Proposed Settlement Classes Are So Numerous That It Is
                           Impracticable To Bring All Class Members Before The Court




                                                      22
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12013 Filed 04/02/15 Page 35 of 48




          No magic number is required to satisfy the numerosity requirement of Rule 23(a)(1).

   Miller v. Univ. of Cincinnati, 241 F.R.D. 285, 288 (S.D. Ohio 2006). A class representative need

   only show that joining all members of the potential class is extremely difficult or inconvenient.

   Golden v. City of Columbus, 404 F.3d 950, 965 (6th Cir. 2005). The “sheer number of potential

   litigants in a class, especially if it is more than several hundred, can be the only factor needed to

   satisfy Rule 23(a)(1).” In re Foundry Resins Antitrust Litig., 242 F.R.D. at 403 (citing Bacon v.

   Honda of America Mfg., Inc., 370 F.3d 565, 570 (6th Cir. 2004)); see also In re Am. Med. Sys.,

   Inc., 75 F.3d 1069, 1079 (6th Cir. 1996).

          Here, the proposed Settlement Classes consist of from January 1, 2000, through the

   Execution Date of this Agreement between HIAMS and End-Payor Plaintiffs who: indirectly

   purchased and/or leased one or more Alternators, Starters, Ignition Coils, Motor Generators,

   Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow Meters, or Electronic

   Throttle Bodies in the United States, not for resale (i) as a component in a new vehicle or (ii) as a

   stand-alone product. Since then, it is beyond dispute that millions of persons and entities

   throughout the United States have purchased or leased vehicles containing Alternators, Starters,

   Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve Timing Control

   Devices, Air Flow Meters, and Electronic Throttle Bodies for personal use. Because of the large

   number of putative class members and their geographical distribution throughout the United

   States, joinder is highly impractical, if not impossible.

                ii.       End-Payor Plaintiff Class Representatives And The Proposed
                          Settlement Classes Share Common Legal And Factual Questions

          Commonality only requires that “there are questions of law or fact common to the class.”

   Fed. R. Civ. P. 23(a)(2). While Rule 23(a)(2) speaks of questions of law or fact in the plural,

   “there need be only one common question to certify a class.” In re Whirlpool Corp. Front-



                                                    23
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12014 Filed 04/02/15 Page 36 of 48




   Loading Washer Prods. Liab. Litig., 722 F.3d at 853; see also Cason-Merenda, 2013 U.S. Dist.

   LEXIS 131006, at *22 (one common question of law or fact is sufficient); Griffin v. Flagstar

   Bancorp Inc., 2013 U.S. Dist. LEXIS 173702 (same); Date v. Sony Elecs., Inc., Case No. 07-

   15474, 2013 U.S. Dist. LEXIS 108095, at *10 (E.D. Mich. July 31, 2013) (same).

          This prerequisite is readily satisfied here because “antitrust price-fixing conspiracy cases,

   by their nature, deal with common legal and factual questions about the existence, scope and

   effect of the alleged conspiracy.” In re Aluminum Phosphide Antitrust Litig., 160 F.R.D. 609,

   613 (D. Kan. 1995). Thus, in price fixing cases, courts “have consistently held that the very

   nature of a conspiracy in an antitrust action compels a finding that common questions of law and

   fact exist.” In re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M 02-1486

   PJH, 2006 U.S. Dist. LEXIS 39841 (N.D. Cal. June 5, 2006); see also Newberg § 3:10 at 278

   (“[In an] antitrust action on behalf of purchasers who have bought defendants’ products at prices

   that have been maintained above competitive levels by unlawful conduct, the courts have held

   that the existence of an alleged conspiracy or monopoly is a common issue that will satisfy the

   Rule 23(a)(2) prerequisite”).

          Here, EPPs have identified the following issues common to the proposed Settlement

   Classes:

         Whether Defendants engaged in combinations and conspiracies among themselves to fix,
          raise, maintain, or stabilizes the prices of Alternators, Starters, Ignition Coils, Motor
          Generators, Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow
          Meters, and Electronic Throttle Bodies sold in the United States;

         Whether Defendants engaged in combinations and conspiracies among themselves to rig
          bids quoted to customers of Alternators, Starters, Ignition Coils, Motor Generators,
          Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow Meters, and
          Electronic Throttle Bodies sold in the United States;

         Whether Defendants engaged in combinations and conspiracies to allocate customers and
          the markets for Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel


                                                   24
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12015 Filed 04/02/15 Page 37 of 48




          Injection Systems, Valve Timing Control Devices, Air Flow Meters, and Electronic
          Throttle Bodies sold in the United States;

         The duration of the illegal contracts, combinations, and/or conspiracies;

         Whether Defendants’ conduct resulted in unlawful overcharges on the prices of
          Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems,
          Valve Timing Control Devices, Air Flow Meters, and Electronic Throttle Bodies; and

         Whether unlawful overcharges on the price of Alternators, Starters, Ignition Coils, Motor
          Generators, Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow
          Meters, and Electronic Throttle Bodies was passed-through to the indirect purchasers of
          Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems,
          Valve Timing Control Devices, Air Flow Meters, and Electronic Throttle Bodies, and if
          so, the appropriate measure of damages.
   Any one of these substantive issues would, standing alone, establish the requisite commonality

   under Rule 23(a)(2).

               iii.       End-Payor Plaintiff Class Representatives’ Claims Are Typical Of
                          The Claims Of The Members Of The Proposed Settlement Classes

          Third, Rule 23(a) requires typicality of the class representatives’ claims. See Fed. R. Civ.

   P. 23(a)(3). “The [typicality] requirement is not onerous,” Int’l Union, UAW v. Ford Motor Co.,

   2006 U.S. Dist. LEXIS 70471 at *54, and courts liberally construe it. See In re Foundry Resins

   Antitrust Litig., 242 F.R.D. at 403. “In the antitrust context, typicality is established when the

   named plaintiffs and all class members allege[] the same antitrust violation by defendants.”

   Cason-Merenda, 2013 U.S. Dist. LEXIS 131006 at *25 (quoting In re Foundry Resins Antitrust

   Litig., 242 F.R.D. at 405); see also Stout v. J.D. Byrider, 228 F.3d 709, 717 (6th Cir. 2000); In re

   Am. Med. Sys., 75 F.3d at 1082; Packaged Ice, 2011 U.S. Dist. LEXIS 17255 at *40-41. “If there

   is a strong similarity of legal theories, the requirement [of typicality] is met, even if there are

   factual distinctions among named and absent class members.” Griffin v. Flagstar Bancorp, Inc.,

   2013 U.S. Dist. LEXIS 173702, at *17-18 (quotation marks and citation omitted); Packaged Ice,

   2011 U.S. Dist. LEXIS 17255, at *40 (same).



                                                   25
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12016 Filed 04/02/15 Page 38 of 48




           Because the End-Payor Plaintiff Class representatives and the members of the proposed

   Settlement Classes believe they are all victims of the conspiracies to fix prices, rig bids, and

   allocate the market and customers for Alternators, Starters, Ignition Coils, Motor Generators,

   Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow Meters, and

   Electronic Throttle Bodies and seek the same relief, Rule 23(a)(3) is satisfied. See Cason-

   Merenda, 2013 U.S. Dist. LEXIS 131006 at *26 (finding typicality met where “the claims of the

   named Plaintiffs and those of the remaining members of the proposed class all arise from the

   same conspiracy and are based on the same theory of liability under the Sherman Act.”) (internal

   quotation marks and citation omitted)); Packaged Ice, 2011 U.S. Dist. LEXIS 17255 at *40-41

   (“Because all Class Members’ claims arise from . . . a conspiracy to allocate markets in violation

   of the Sherman Act, their claims are based on the same legal theory and the typicality

   requirement . . . is met”).

                iv.        Proposed Settlement Class Counsel and End-Payor Plaintiff Class
                           Representatives Will Fairly and Adequately Protect The Interests Of
                           The Proposed Settlement Classes

           The final requirement of Rule 23(a) is that the representative parties “fairly and

   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The Sixth Circuit has

   articulated two criteria for determining adequacy of representation: “‘1) [t]he representative must

   have common interests with unnamed members of the class, and 2) it must appear that the

   representatives will vigorously prosecute the interests of the class through qualified counsel.’” In

   re Foundry Resins Antitrust Litig., 242 F.R.D. at 407 (quoting Senter v. Gen. Motors Corp., 532

   F.2d 511, 525 (6th Cir. 1976)). EPPs submit that there are no conflicts between them and the

   proposed Settlement Classes because EPPs and members of the proposed Settlement Classes: (i)

   purchased or leased in the United States, not for resale, motor vehicles containing Alternators,

   Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve Timing


                                                   26
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12017 Filed 04/02/15 Page 39 of 48




   Control Devices, Air Flow Meters, and Electronic Throttle Bodies; and/or (ii) Alternators,

   Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve Timing

   Control Devices, Air Flow Meters, and Electronic Throttle Bodies as a stand-alone product, that

   they have the same interest in establishing liability, and that they all seek damages for the

   ensuing overcharge. See In re Corrugated Container Antitrust Litig., 643 F.2d 195, 208 (5th Cir.

   1981) (certifying settlement class and holding that “so long as all class members are united in

   asserting a common right, such as achieving the maximum possible recovery for the class, the

   class interests are not antagonistic for representation purposes” (internal quotation marks and

   citation omitted)). EPPs and the members of the proposed Settlement Classes also share a

   common interest in obtaining HIAMS’s early and substantial cooperation in prosecuting the

   claims against the non-settling Defendants.

          Rule 23(g) requires the Court to examine the capabilities and resources of class counsel

   to determine whether they will provide adequate representation to the class. The proposed

   Settlement Classes are represented by counsel with extensive experience in antitrust and class

   action litigation. They have vigorously prosecuted the class claims, and they will continue to do

   so through all phases of the litigation, including trial. See Marcus v. Dep’t of Revenue, 206

   F.R.D. 509, 512 (D. Kan. 2002) (“In absence of evidence to the contrary, courts will presume the

   proposed class counsel is adequately competent to conduct the proposed litigation”). The Court

   appointed Cotchett, Pitre & McCarthy, LLP, Robins Kaplan LLP, and Susman Godfrey L.L.P. as

   Interim Co-Lead Class Counsel in this action and the other automotive parts antitrust cases

   within Master File No. 2:12-md-2311. See Case Management Order No. 3 filed as ECF No. 271.

   For the same reasons that the Court appointed them to this position, it should appoint them

   Settlement Class Counsel here.




                                                  27
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12018 Filed 04/02/15 Page 40 of 48




          B.      The Proposed Settlement Classes Meet The Requirements Of Rule 23(b)(3)

          To qualify for certification under Rule 23(b)(3), a class must meet two requirements

   beyond the Rule 23(a) prerequisites: common questions must predominate over any questions

   affecting only individual members; and class resolution must be superior to other available

   methods for the fair and efficient adjudication of the controversy. Amchem Prods., Inc. v.

   Windsor, 521 U.S. 591, 615 (1997) (“Amchem”); see also In re Scrap Metal Antitrust Litig., 527

   F.3d 517, 535 (6th Cir. 2008). With respect to both requirements, the Court need not inquire

   whether the “case, if tried, would present intractable management problems, for the proposal is

   that there be no trial.” Amchem, 521 U.S. at 620 (internal citations omitted).

                  i.      Common Questions of Law and Fact Predominate

         “Rule 23(b)(3) does not mandate that a plaintiff seeking class certification prove that each

   element of the claim is susceptible to classwide proof.” In re Whirlpool Corp., 722 F.3d at 859.

   Instead, “‘[a] claim will meet the predominance requirement when there exists generalized

   evidence which proves or disproves an element on a simultaneous, class-wide basis, since such

   proof obviates the need to examine each class member’s individualized position.’” In re Foundry

   Resins Antitrust Litig., 242 F.R.D. at 408 (quoting In re Cardizem CD Antitrust Litig., 200

   F.R.D. at 307). Common questions need only predominate; they need not be dispositive of the

   litigation. Id. (citing In re Potash Antitrust Litig., 159 F.R.D. 682, 693 (D. Minn. 1995)); cf. In re

   Scrap Metal Antitrust Litig., 527 F.3d at 535-36 (holding issues regarding the amount of

   damages do not destroy predominance). “[T]he mere fact that questions peculiar to each

   individual member of the class action remain after the common questions of the defendant’s

   liability have been resolved does not dictate the conclusion that a class action is impermissible.”

   Cason-Merenda v. VHS of Mich., Inc., 2013 U.S. Dist. LEXIS 131006, at *19-20 (quoting

   Powers v. Hamilton Cnty. Public Defender Comm., 501 F.3d 595, 619 (6th Cir. 2007)). As


                                                    28
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12019 Filed 04/02/15 Page 41 of 48




   pertinent to EPPs’ request here to provisionally certify the proposed Settlement Classes under

   Rule 23(b)(3), the Supreme Court very recently instructed that “Rule 23(b)(3) requires a showing

   that questions common to the class predominate, not that those questions will be answered, on

   the merits, in favor of the class.” Amgen, 133 S.Ct. at 1191.8

         Because the proposed Settlement Classes allege actions from which all proposed

   Settlement Class Members’ alleged injuries arise, issues common to the proposed Settlement

   Class Members – for example, the existence and scope of the alleged price-fixing conspiracy or

   conspiracies among Defendants, the market impact of Defendants’ conspiracy or conspiracies,

   and the aggregate amount of damage suffered by the class as a result of the alleged antitrust

   violations – predominate over any individual questions, and therefore class treatment of the

   claims is appropriate for purposes of this settlement. See Amchem, 521 U.S. at 625

   (“Predominance is a test readily met in certain cases alleging . . . violations of the antitrust

   laws.”); see also In re Vitamins Antitrust Litig., 209 F.R.D. 251, 254 (D.D.C. 2002) (“as a rule,

   the allegation of a price-fixing conspiracy is sufficient to establish predominance of common

   questions”) (quoting NEWBERG ON CLASS ACTIONS § 18.28 at 18-98 (3d ed. 1992)). This Circuit

   has also held “[p]redominance is a test readily met in certain cases alleging . . . violations of the

   antitrust laws, because proof of the conspiracy is a common question that is thought to

   predominate over the other issues of the case.” In re Scrap Metal Antitrust Litig., 527 F.3d at 535
   8
     The Supreme Court’s recent decision in Comcast Corp. v. Behrend, 133 S.Ct. 1426 (2013),
   supports the appropriateness of class certification under Rule 23(b)(3) here. In Comcast, the
   Supreme Court found that the plaintiffs failed to establish that damages could be measured on a
   class-wide basis because only one of the plaintiffs’ four theories of antitrust impact could be
   proved in a manner common to the class. 133 S.Ct. at 1429-31. Under Comcast, plaintiffs must
   be able to show that their damages stemmed from the defendant’s actions that created the legal
   liability. See Levva v. Medline Indus, Inc., 716 F.3d 510 (9th Cir. 2013). Here, all of the
   proposed Settlement Classes’ claimed damages – the overcharge suffered as a result of inflated
   Alternators, Starters, Ignition Coils, Motor Generators, Inverters, Fuel Injection Systems, Valve
   Timing Control Devices, Air Flow Meters, and Electronic Throttle Bodies – stem from the
   Defendants’ alleged price-fixing conspiracies.

                                                    29
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12020 Filed 04/02/15 Page 42 of 48




   (quoting Amchem, 521 U.S. at 625).9 Furthermore, here the evidence that will prove a violation

   as to one Settlement Class Member is common to the Class and will be sufficient to prove it as to

   all – the anticompetitive conduct is not dependent on the separate conduct of the individual

   Settlement Class Members. See Packaged Ice, 2011 U.S. Dist. LEXIS 17255 at *43.

        This is true even if there are individual state law issues, as long as the common issues still

   outweigh the individual ones, e.g., as long as a common theory can be alleged as to liability and

   impact that can be pursued by the class. See, e.g., In re Whirlpool Corp., 722 F.3d at 861 (“[I]t

   remains the ‘black letter rule’ that a class may obtain certification under Rule 23(b)(3) when

   liability questions common to the class predominate over damages questions unique to class

   members.” (internal quotation marks and citation omitted)); Scrap Metal, 527 F.3d at 535 (where

   common issues determine liability, fact that damages calculation may involve individualized

   issues does not defeat predominance). Issues common to the proposed Settlement Classes

   predominate in this case – all EPPs allegedly paid overcharges that were caused by the

   Defendants’ price-fixing activities. The presence of these common issues of liability and impact

   predominates over any individual issues and strongly support provisional certification of the

   proposed Settlement Classes.

                 ii.     A Class Action Is The Superior Method To Adjudicate These Claims

          Rule 23(b)(3) also requires that a class action be superior to other available methods of

   fairly adjudicating the controversy. The superiority of class certification over other available
   9
     Similarly, other courts have recognized that the existence and scope of an alleged antitrust
   conspiracy are matters susceptible to class-wide proof, and thus tend to support a finding that
   common issues predominate over individual ones as to at least the first element of an antitrust
   conspiracy claim. See, e.g., Cordes & Co. Financial Services, Inc. v. A.G. Edwards & Sons, Inc.,
   502 F.3d 91, 105 (2d Cir. 2007); Blades v. Monsanto Co., 400 F.3d 562, 572 (8th Cir. 2005); In
   re Visa Check/MasterMoney Antitrust Litig., 280 F.3d 124, 136 (2d Cir. 2001); In re Blood
   Reagents Antitrust Litig., 283 F.R.D. 222, 234 (E.D. Pa. 2012); Reed v. Advocate Health Care,
   268 F.R.D. 573, 581 (N.D. Ill. 2009); In re Urethane Antitrust Litig., 251 F.R.D. 629, 634 (D.
   Kan. 2008); Foundry Resins, 242 F.R.D. at 408.

                                                  30
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12021 Filed 04/02/15 Page 43 of 48




   methods is measured by consideration of certain factors, including: the class members’ interests

   in controlling the prosecution of individual actions; the extent and nature of any litigation

   concerning the controversy already begun by or against class members; the desirability of

   concentrating the litigation of various claims in the particular forum; and the likely difficulties in

   managing a class action. Dillworth v. Case Farms Processing, Inc., No. 5:08-cv-1694, 2010 U.S.

   Dist. LEXIS 20446 (N.D. Ohio Mar. 8, 2010).

         Courts consistently hold that class actions are a superior method of resolving antitrust

   claims like those alleged here. See In re Universal Serv. Fund Tel. Billing Practices Litig., 219

   F.R.D. 661, 678 (D. Kan. 2004) (noting that individual litigation of antitrust claims would be

   “grossly inefficient, costly, and time consuming”). Here, the interests of Settlement Class

   Members in individually controlling the prosecution of separate claims are outweighed by the

   efficiency of the class mechanism. Cardizem, 200 F.R.D. at 325-26 (finding that class action is

   superior because it ensures fair and efficient adjudication). Millions of persons and entities

   purchased or leased vehicles containing Alternators, Starters, Ignition Coils, Motor Generators,

   Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow Meters, and

   Electronic Throttle Bodies as a component part or purchased Alternators, Starters, Ignition Coils,

   Motor Generators, Inverters, Fuel Injection Systems, Valve Timing Control Devices, Air Flow

   Meters, and Electronic Throttle Bodies as stand-alone products during the Settlement Class

   Periods; resolving these claims in the context of a class action would conserve both judicial and

   private resources and would hasten the class members’ recovery. See, e.g., In re Foundry Resins,

   242 F.R.D. at 411-12 (“Repeatedly litigating the same issues in individual suits would produce




                                                    31
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12022 Filed 04/02/15 Page 44 of 48




   duplicate efforts, unnecessarily increase litigation costs, impose an unwarranted burden on this

   Court and other courts, and create a risk of inconsistent results”).10

   III.   Notice To The Classes

          Rule 23(c)(2)(B) requires the Court to “direct to class members the best notice that is

   practicable under the circumstances, including individual notice to all members who can be

   identified through reasonable effort.” With regard to class action claims that are settled, Rule

   23(e) instructs courts to “direct notice in a reasonable manner to all class members who would be

   bound by the proposal.” Fed. R. Civ. P. 23(e)(1). “[D]ue process does not require actual notice,

   but rather a good faith effort to provide actual notice.” Thacker, 259 F.R.D. at 271-72. To

   comport with the requirements of due process, notice must be “reasonably calculated to reach

   interested parties.” Fidel v. Farley, 534 F.3d 508, 514 (6th Cir. 2008) (citing Karkoukli’s, Inc. v.

   Dohany, 409 F.3d 279, 283 (6th Cir. 2005)).

          Interim Co-Lead Class Counsel anticipates additional settlements with Defendants in the

   Auto Parts coordinated proceedings. Because it would be most cost-effective and efficient to

   disseminate notice of this settlement together with notice of other settlements, the parties have

   agreed to defer dissemination of notice. As set forth in the Settlement Agreement, “End-Payor

   Plaintiffs shall, at a time to be decided in their sole discretion, in each Action submit to the Court

   a motion for authorization to disseminate notice of the settlement and final judgment

   contemplated by this Agreement to all members of the Settlement Classes identified by End-

   Payor Plaintiffs (the “Notice Motions”).” Settlement Agreement ¶ 21. The Notice Motion to be


   10
      Another criterion of Rule 23(b)(3) is manageability. The Supreme Court has made clear that
   manageability need not be considered where, as here, a class is being certified for settlement
   purposes. Amchem, 521 U.S. at 620 (“Confronted with a request for settlement-only class
   certification, a district court need not inquire whether the case, if tried, would present intractable
   management problems, see Fed. R. Civ. P. 23(b)(3)(D), for the proposal is that there be no
   trial”).

                                                    32
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12023 Filed 04/02/15 Page 45 of 48




   subsequently submitted to the Court for its approval shall include “a proposed form of, method

   for, and date of dissemination of notice.” Id. Accordingly, with the Court’s permission, proposed

   Settlement Class Counsel will submit a proposed motion for authorization to disseminate notice

   at a later date.

                                            CONCLUSION

           For the foregoing reasons, EPPs respectfully request that the motion for preliminary

   approval be granted and that the Court enter the accompanying Proposed Order:

       1. Preliminarily approving the Settlement Agreement;

       2. Provisionally certifying the proposed Settlement Classes;

       3. Staying the proceedings against Releasees (as defined in the settlement agreement with

           HIAMS), in particular HIAMS, Hitachi Automotive Systems Americas, Inc., and Hitachi,

           Ltd. in accordance with the terms of the Settlement Agreement;

       4. Authorizing EPPs to provide notice of the Settlement Agreement to members of the

           Settlement Classes at a later date, in a form to be approved in advance by this Court; and

       5. Appointing Interim Co-Lead Class Counsel for the EPPs as Settlement Class Counsel for

           this settlement.



   Date: April 2, 2015                                  /s/ E. Powell Miller
                                                        E. Powell Miller
                                                        Adam T. Schnatz
                                                        THE MILLER LAW FIRM, P.C.
                                                        The Miller Law Firm, P.C.
                                                        950 W. University Dr., Ste. 300
                                                        Rochester, Michigan 48307
                                                        epm@millerlawpc.com
                                                        ats@millerlawpc.com

                                                        Interim Liaison Counsel for the Proposed
                                                        End-Payor Plaintiff Classes



                                                   33
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12024 Filed 04/02/15 Page 46 of 48




                                            Steven N. Williams
                                            Adam J. Zapala
                                            Elizabeth Tran
                                            COTCHETT, PITRE & McCARTHY,
                                            LLP
                                            San Francisco Airport Office Center
                                            840 Malcolm Road, Suite 200
                                            Burlingame, CA 94010
                                            Telephone: (650) 697-6000
                                            Facsimile: (650) 697-0577
                                            swilliams@cpmlegal.com
                                            azapala@cpmlegal.com
                                            etran@cpmlegal.com

                                            Hollis Salzman
                                            Bernard Persky
                                            William V. Reiss
                                            ROBINS KAPLAN LLP
                                            601 Lexington Avenue, Suite 3400
                                            New York, NY 10022
                                            Telephone: (212) 980-7400
                                            Facsimile: (212) 980-7499
                                            HSalzman@RobinsKaplan.com
                                            BPersky@RobinsKaplan.com
                                            WReiss@RobinsKaplan.com

                                            Marc M. Seltzer
                                            Steven G. Sklaver
                                            SUSMAN GODFREY L.L.P.
                                            1901 Avenue of the Stars, Suite 950
                                            Los Angeles, CA 90067-6029
                                            Telephone: (310) 789-3100
                                            Facsimile: (310) 789-3150
                                            mseltzer@susmangodfrey.com
                                            ssklaver@susmangodfrey.com

                                            Terrell W. Oxford
                                            SUSMAN GODFREY L.L.P.
                                            901 Main Street, Suite 5100
                                            Dallas, Texas 75202
                                            Telephone: (214) 754-1900
                                            Facsimile: (214)754-1933
                                            toxford@susmangodfrey.com




                                       34
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12025 Filed 04/02/15 Page 47 of 48




                                            Interim Co-Lead Class Counsel for the
                                            Proposed End-Payor Plaintiff Classes




                                       35
Case 2:12-md-02311-SFC-RSW ECF No. 924, PageID.12026 Filed 04/02/15 Page 48 of 48




                                CERTIFICATE OF SERVICE

         I, E. Powell Miller, hereby certify that I caused a true and correct copy of END-PAYOR

   PLAINTIFFS’ NOTICE OF MOTION FOR PRELIMINARY APPROVAL OF

   PROPOSED SETTLEMENT WITH HITACHI AUTOMOTIVE SYSTEMS, LTD. AND

   PROVISIONAL CERTIFICATION OF SETTLEMENT CLASSES and MEMORANDUM

   OF   LAW      IN   SUPPORT      OF     END-PAYOR         PLAINTIFFS’     MOTION       FOR

   PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT WITH HITACHI

   AUTOMOTIVE SYSTEMS, LTD. AND PROVISIONAL CERTIFICATION OF

   SETTLEMENT CLASSES to be served via e-mail upon all registered counsel of record via the

   Court’s CM/ECF system on April 2, 2015.

                                             /s/ E. Powell Miller
                                             E. Powell Miller
